     Case: 1:24-cv-05631 Document #: 58 Filed: 05/19/25 Page 1 of 1 PageID #:424
                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


 Case Title: UL LLC v. Joshua                          Case Number: 1:24-cv-05631
             Callington

An appearance is hereby filed by the undersigned as attorney for:
UL LLC
Attorney name (type or print): Kevin E. Griffith

Firm: Littler Mendelson, P.C.

Street address: 41 South High Street, Suite 3250

City/State/Zip: Columbus, Ohio 43215

 Bar ID Number: OH 0037297 (pro hac vice Telephone Number: 614-463-4210
 (See item 3 in instructions)

Email Address: kgriffith@littler.com

Are you acting as lead counsel in this case?                                     Yes       ✔ No
Are you a member of the court’s general bar?                                     Yes       ✔ No
Are you a member of the court’s trial bar?                                       Yes       ✔ No
Are you appearing pro hac vice?                                              ✔ Yes             No

If this case reaches trial, will you act as the trial attorney?                  Yes       ✔ No
If this is a criminal case, check your status.

                                                                  Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on May 19, 2025

Attorney signature:        S/ Kevin E. Griffith
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised //2023
